                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION




UNITED STATES OF AMERICA                         )
                                                 )
        v.                                       )             NO. 3:15-cr-00069
                                                 )             JUDGE SEAN F. COX
GEORGE DAVID GEORGE                              )
                                                 )



                          GOVERNMENT’S MOTION IN LIMINE
                            TO ADMIT CERTAIN EVIDENCE

        The Government, by and through undersigned counsel, respectfully moves in limine to

admit evidence of the defendant’s under-payment and non-payment of WellCity employees during

the period of the charged scheme to defraud. Such evidence directly proves the defendant’s

scheme to defraud WellCity investors and is therefore admissible under Federal Rules of Evidence

401 – 403.

   I.        Background

        The defendant is charged with numerous crimes stemming from his scheme to use his

company, WellCity, to defraud investors and potential investors, between March 2011 and April

2014. See generally D.E. 70 (superseding indictment). The superseding indictment specifically

alleges that it was part of the defendant’s scheme to make material misrepresentations and false

promises regarding the revenue and assets of WellCity. Id. at ¶ 17(a). The superseding indictment

further alleges that it was part of the defendant’s scheme to “use funds that had been provided by

WellCity Investors for his own personal use...” Id. at ¶ 22.




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          The evidence at trial will show that the defendant received millions of dollars from

WellCity investors during the course of the fraud. Nevertheless, numerous former WellCity

employee will testify that the defendant consistently underpaid them or failed to pay them their

agreed upon wages during the same period.

   II.       The defendant’s non-payment of WellCity employees is admissible proof of his

             crimes

          The defendant’s non-payment of WellCity employees during the course of the fraud is

direct evidence that he misled investors. The evidence demonstrates that WellCity did not generate

sufficient revenue or have sufficient assets to pay its employees. When this evidence is contrasted

with the defendant’s statements to investors about WellCity’s revenue and assets, the defendant’s

deceit will be evident.

          The same evidence makes it more likely that the defendant was diverting investor money

for his personal use.     That is because, despite having access to millions of dollars of investor

money during the course of the fraud, the defendant routinely chose not to pay his employees. The

evidence is therefore relevant and admissible under Federal Rules of Evidence 401 and 402.

   III.      The evidence is admissible under Fed. R. Evid. 403

          Finally, any danger of unfair prejudice or confusion of the issues caused by this evidence

is substantially outweighed by its probative value. Fed. R. Evid. 403. As the Court is aware, “[t]he

prejudice to be weighed is the unfair prejudice caused by admission of the evidence.” United

States v. Sanders, 95 F.3d 449, 453 (6th Cir. 1996). Evidence that is prejudicial only in the sense

that it paints the defendant in a bad light is not unfairly prejudicial pursuant to Rule 403.” Id.

citing United States v. Mullins, 22 F.3d 1365, 1373 (6th Cir. 1994) (Trial court’s admission of a

letter that portrayed the defendant “as a crook and someone trying to sell out his co-conspirators”



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was not an abuse of discretion where letter had probative value). While the defendant’s repeated

non-payment and under-payment of his employees may paint him in a “bad light,” as set out above,

it is extremely probative of the charged conduct. Therefore, the evidence should not be excluded

under Fed. R. Evid. 403.

   IV.      Conclusion

         WHEREFORE, the Government respectfully moves the Court to admit at trial in the above-

captioned matter evidence of the defendant’s non-payment and under-payment of WellCity

employees.

                                                 Respectfully submitted,



                                                 JACK SMITH

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                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and exact copy of the foregoing document has

been served through the electronic case filing system upon Peter J. Strianse, counsel for the

defendant upon this 10th day of April 2017.


                                                 s/ Henry C. Leventis
                                                 HENRY C. LEVENTIS
                                                 Assistant United States Attorney



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